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              IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE DISTRICT OF DELAWARE

In re:                                )      Chapter 11
                                      )
AMERICAN PHYSICIAN PARTNERS, LLC,     )      Case No. 23-11469 (BLS)
                                      )
                      Debtor.         )
                                      )
In re:                                )      Chapter 11
                                      )
ACUTE CARE SPECIALISTS, LLC,          )      Case No. 23-11546 (BLS)
                                      )
                      Debtor.         )
                                      )
In re:                                )      Chapter 11
                                      )
ALIGN MD, PLLC,                       )      Case No. 23-11497 (BLS)
                                      )
                      Debtor.         )
                                      )
In re:                                )      Chapter 11
                                      )
AMERICAN PHYSICIAN HOLDINGS, LLC,     )      Case No. 23-11487 (BLS)
                                      )
                      Debtor.         )
                                      )
In re:                                )      Chapter 11
                                      )
AMERICAN PHYSICIAN PARTNERS PSO, LLC, )      Case No. 23-11541 (BLS)
                                      )
                      Debtor.         )
                                      )
In re:                                )      Chapter 11
                                      )
APP AZ ED MEMBER 1, LLC,              )      Case No. 23-11486 (BLS)
                                      )
                      Debtor.         )
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In re:                                )      Chapter 11
                                      )
APP AZ ED MEMBER 2, LLC,              )      Case No. 23-11491 (BLS)
                                      )
                      Debtor.         )
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In re:                                       )   Chapter 11
                                             )
APP AZ ED MEMBER 3, INC.,                    )   Case No. 23-11495 (BLS)
                                             )
                       Debtor.               )
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In re:                                       )   Chapter 11
                                             )
APP AZ ED MEMBER 4, INC.,                    )   Case No. 23-11501 (BLS)
                                             )
                       Debtor.               )
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In re:                                       )   Chapter 11
                                             )
APP AZ ED MEMBER 5, INC.,                    )   Case No. 23-11504 (BLS)
                                             )
                       Debtor.               )
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In re:                                       )   Chapter 11
                                             )
APP AZ ED MEMBER 6 INC.,                     )   Case No. 23-11509 (BLS)
                                             )
                       Debtor.               )
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In re:                                       )   Chapter 11
                                             )
APP EMERGENCY ED TX, INC.,                   )   Case No. 23-11472 (BLS)
                                             )
                       Debtor.               )
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In re:                                       )   Chapter 11
                                             )
APP ICU, LLC,                                )   Case No. 23-11556 (BLS)
                                             )
                       Debtor.               )
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In re:                                       )   Chapter 11
                                             )
APP MANAGEMENT CO., LLC,                     )   Case No. 23-11490 (BLS)
                                             )
                       Debtor.               )
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In re:                                      )   Chapter 11
                                            )
APP MDPARTNERS OF GA, LLC,                  )   Case No. 23-11492 (BLS)
                                            )
                      Debtor.               )
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In re:                                      )   Chapter 11
                                            )
APP MDPARTNERS, PLLC,                       )   Case No. 23-11488 (BLS)
                                            )
                      Debtor.               )
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In re:                                      )   Chapter 11
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APP OF ALABAMA ED, LLC,                     )   Case No. 23-11500 (BLS)
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                      Debtor.               )
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In re:                                      )   Chapter 11
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APP OF ALABAMA HM, LLC,                     )   Case No. 23-11521 (BLS)
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                      Debtor.               )
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In re:                                      )   Chapter 11
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APP OF ARIZONA ED, LLC,                     )   Case No. 23-11470 (BLS)
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                      Debtor.               )
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In re:                                      )   Chapter 11
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APP OF ARIZONA HM, LLC,                     )   Case No. 23-11477 (BLS)
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                      Debtor.               )
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In re:                                      )   Chapter 11
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APP OF ARKANSAS ED, PLLC,                   )   Case No. 23-11503 (BLS)
                                            )
                      Debtor.               )
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In re:                                      )   Chapter 11
                                            )
APP OF ARKANSAS HM, PLLC,                   )   Case No. 23-11507 (BLS)
                                            )
                      Debtor.               )
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In re:                                      )   Chapter 11
                                            )
APP OF CENTRAL FLORIDA ED, LLC,             )   Case No. 23-11535 (BLS)
                                            )
                      Debtor.               )
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In re:                                      )   Chapter 11
                                            )
APP OF EAST TENNESSEE ED, PLLC,             )   Case No. 23-11558 (BLS)
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                      Debtor.               )
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In re:                                      )   Chapter 11
                                            )
APP OF EAST TENNESSEE HM, PLLC,             )   Case No. 23-11522 (BLS)
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                      Debtor.               )
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In re:                                      )   Chapter 11
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APP OF FLORIDA ED, LLC,                     )   Case No. 23-11479 (BLS)
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                      Debtor.               )
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In re:                                      )   Chapter 11
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APP OF FLORIDA HM, LLC,                     )   Case No. 23-11471 (BLS)
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                      Debtor.               )
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In re:                                      )   Chapter 11
                                            )
APP OF GEORGIA ED, LLC,                     )   Case No. 23-11483 (BLS)
                                            )
                      Debtor.               )
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In re:                                       )   Chapter 11
                                             )
APP OF ILLINOIS ED, PLLC,                    )   Case No. 23-11475 (BLS)
                                             )
                       Debtor.               )
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In re:                                       )   Chapter 11
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APP OF ILLINOIS HM, PLLC,                    )   Case No. 23-11480 (BLS)
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                       Debtor.               )
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In re:                                       )   Chapter 11
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APP OF INDIANA ED, PLLC,                     )   Case No. 23-11525 (BLS)
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                       Debtor.               )
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In re:                                       )   Chapter 11
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APP OF INDIANA HM, PLLC,                     )   Case No. 23-11547 (BLS)
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                       Debtor.               )
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In re:                                       )   Chapter 11
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APP OF KANSAS ED, PLLC,                      )   Case No. 23-11524 (BLS)
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                       Debtor.               )
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In re:                                       )   Chapter 11
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APP OF KANSAS HM, PLLC,                      )   Case No. 23-11550 (BLS)
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                       Debtor.               )
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In re:                                       )   Chapter 11
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APP OF KENTUCKY ED, PLLC,                    )   Case No. 23-11484 (BLS)
                                             )
                       Debtor.               )
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In re:                                        )   Chapter 11
                                              )
APP OF KENTUCKY HM, PLLC,                     )   Case No. 23-11554 (BLS)
                                              )
                        Debtor.               )
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In re:                                        )   Chapter 11
                                              )
APP OF MICHIGAN ED, PLLC,                     )   Case No. 23-11518 (BLS)
                                              )
                        Debtor.               )
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In re:                                        )   Chapter 11
                                              )
APP OF MISSISSIPPI ED, LLC,                   )   Case No. 23-11493 (BLS)
                                              )
                        Debtor.               )
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In re:                                        )   Chapter 11
                                              )
APP OF MISSISSIPPI HM, LLC,                   )   Case No. 23-11496 (BLS)
                                              )
                        Debtor.               )
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In re:                                        )   Chapter 11
                                              )
APP OF NEVADA ED, PLLC,                       )   Case No. 23-11559 (BLS)
                                              )
                        Debtor.               )
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In re:                                        )   Chapter 11
                                              )
APP OF NEW MEXICO ED, PLLC,                   )   Case No. 23-11478 (BLS)
                                              )
                        Debtor.               )
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In re:                                        )   Chapter 11
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APP OF NEW MEXICO HM, PLLC,                   )   Case No. 23-11482 (BLS)
                                              )
                        Debtor.               )
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In re:                                        )   Chapter 11
                                              )
APP OF NORTH CAROLINA ED, PLLC,               )   Case No. 23-11538 (BLS)
                                              )
                        Debtor.               )
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In re:                                        )   Chapter 11
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APP OF NORTH CAROLINA HM, PLLC,               )   Case No. 23-11540 (BLS)
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                        Debtor.               )
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In re:                                        )   Chapter 11
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APP OF OHIO ED, PLLC,                         )   Case No. 23-11473 (BLS)
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                        Debtor.               )
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In re:                                        )   Chapter 11
                                              )
APP OF OHIO HM, PLLC,                         )   Case No. 23-11557 (BLS)
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                        Debtor.               )
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In re:                                        )   Chapter 11
                                              )
APP OF SOUTH CAROLINA ED, PLLC,               )   Case No. 23-11561 (BLS)
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                        Debtor.               )
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In re:                                        )   Chapter 11
                                              )
APP OF SOUTH CAROLINA HM, PLLC,               )   Case No. 23-11566 (BLS)
                                              )
                        Debtor.               )
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In re:                                        )   Chapter 11
                                              )
APP OF SOUTHERN ARIZONA ED, LLC,              )   Case No. 23-11537 (BLS)
                                              )
                        Debtor.               )
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In re:                                       )   Chapter 11
                                             )
APP OF SOUTHERN ARIZONA HM, LLC,             )   Case No. 23-11539 (BLS)
                                             )
                      Debtor.                )
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In re:                                       )   Chapter 11
                                             )
APP OF SOUTHERN NEW MEXICO ED, PLLC,         )   Case No. 23-11478 (BLS)
                                             )
                      Debtor.                )
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In re:                                       )   Chapter 11
                                             )
APP OF SOUTHERN NEW MEXICO HM, PLLC,         )   Case No. 23-11567 (BLS)
                                             )
                      Debtor.                )
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In re:                                       )   Chapter 11
                                             )
APP OF TENNESSEE ED, PLLC,                   )   Case No. 23-11485 (BLS)
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                      Debtor.                )
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In re:                                       )   Chapter 11
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APP OF TENNESSEE HM, PLLC,                   )   Case No. 23-11489 (BLS)
                                             )
                      Debtor.                )
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In re:                                       )   Chapter 11
                                             )
APP OF WEST VIRGINIA ED, PLLC,               )   Case No. 23-11499 (BLS)
                                             )
                      Debtor.                )
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In re:                                       )   Chapter 11
                                             )
APP OF WEST VIRGINIA HM, PLLC,               )   Case No. 23-11494 (BLS)
                                             )
                      Debtor.                )
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In re:                                      )   Chapter 11
                                            )
APP OF WESTERN KENTUCKY ED, PLLC,           )   Case No. 23-11569 (BLS)
                                            )
                      Debtor.               )
                                            )
In re:                                      )   Chapter 11
                                            )
APP TEXAS, PLLC,                            )   Case No. 23-11564 (BLS)
                                            )
                      Debtor.               )
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In re:                                      )   Chapter 11
                                            )
APPROVIDERS, LLC,                           )   Case No. 23-11498 (BLS)
                                            )
                      Debtor.               )
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In re:                                      )   Chapter 11
                                            )
APPTEXASED, PLLC,                           )   Case No. 23-11530 (BLS)
                                            )
                      Debtor.               )
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In re:                                      )   Chapter 11
                                            )
APPTEXASHM, PLLC,                           )   Case No. 23-11515 (BLS)
                                            )
                      Debtor.               )
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In re:                                      )   Chapter 11
                                            )
CALEB CREEK EMERGENCY PHYSICIANS,           )   Case No. 23-11502 (BLS)
PLLC,                                       )
                                            )
                      Debtor.               )
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In re:                                      )   Chapter 11
                                            )
CAPITAL EMERGENCY PHYSICIANS, PLLC,         )   Case No. 23-11481 (BLS)
                                            )
                      Debtor.               )
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In re:                                       )   Chapter 11
                                             )
CAPITAL ER PHYSICIANS MADISON, PLLC,         )   Case No. 23-11474 (BLS)
                                             )
                       Debtor.               )
                                             )
In re:                                       )   Chapter 11
                                             )
COOSA RIVER EMERGENCY PHYSICIANS,            )   Case No. 23-11505 (BLS)
PLLC,                                        )
                                             )
                       Debtor.               )
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In re:                                       )   Chapter 11
                                             )
DEGARA APP HM, PLLC,                         )   Case No. 23-11510 (BLS)
                                             )
                       Debtor.               )
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In re:                                       )   Chapter 11
                                             )
DEGARA APP, PLLC,                            )   Case No. 23-11508 (BLS)
                                             )
                       Debtor.               )
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In re:                                       )   Chapter 11
                                             )
DEGARA GARDEN CITY APP, PLLC,                )   Case No. 23-11513 (BLS)
                                             )
                       Debtor.               )
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In re:                                       )   Chapter 11
                                             )
DEGARA GARDEN CITY, PLLC,                    )   Case No. 23-11519 (BLS)
                                             )
                       Debtor.               )
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In re:                                       )   Chapter 11
                                             )
DEGARA, PLLC,                                )   Case No. 23-11511 (BLS)
                                             )
                       Debtor.               )
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In re:                                )      Chapter 11
                                      )
ELITE EMERGENCY HOT SPRINGS, PLLC,    )      Case No. 23-11527 (BLS)
                                      )
                    Debtor.           )
                                      )
In re:                                )      Chapter 11
                                      )
ELITE EMERGENCY MANAGEMENT, PLLC,     )      Case No. 23-11523 (BLS)
                                      )
                    Debtor.           )
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In re:                                )      Chapter 11
                                      )
ELITE EMERGENCY RUSSELLVILLE, PLLC,   )      Case No. 23-11531 (BLS)
                                      )
                    Debtor.           )
                                      )
In re:                                )      Chapter 11
                                      )
ELITE EMERGENCY SERVICES OF KENTUCKY, )      Case No. 23-11520 (BLS)
PLLC,                                 )
                                      )
                    Debtor.           )
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In re:                                )      Chapter 11
                                      )
ELITE EMERGENCY SVC OF KY, PLLC,      )      Case No. 23-11533 (BLS)
                                      )
                    Debtor.           )
                                      )
In re:                                )      Chapter 11
                                      )
ELITE EMERGENCY SVC OF TN, PLLC,      )      Case No. 23-11534 (BLS)
                                      )
                    Debtor.           )
                                      )
In re:                                )      Chapter 11
                                      )
EMERGENCY SPECIALISTS OF WELLINGTON, )       Case No. 23-11512 (BLS)
LLC,                                  )
                                      )
                    Debtor.           )
                                      )
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In re:                                     )   Chapter 11
                                           )
EMERGIGROUP PHYSICIAN ASSOCIATES,          )   Case No. 23-11548 (BLS)
PLLC,                                      )
                                           )
                     Debtor.               )
                                           )
In re:                                     )   Chapter 11
                                           )
KALAMAZOO EMERGENCY ASSOCIATES,            )   Case No. 23-11570 (BLS)
PLC,                                       )
                                           )
                     Debtor.               )
                                           )
In re:                                     )   Chapter 11
                                           )
KIRBY EMERGENCY PHYSICIANS, PLLC,          )   Case No. 23-11552 (BLS)
                                           )
                     Debtor.               )
                                           )
In re:                                     )   Chapter 11
                                           )
LITTLE RIVER EMERGENCY PHYSICIANS,         )   Case No. 23-11536 (BLS)
PLLC,                                      )
                                           )
                     Debtor.               )
                                           )
In re:                                     )   Chapter 11
                                           )
LONGVIEW EMERGENCY MEDICINE                )   Case No. 23-11563 (BLS)
ASSOCIATES, PLLC,                          )
                                           )
                     Debtor.               )
                                           )
In re:                                     )   Chapter 11
                                           )
NETEP, PLLC,                               )   Case No. 23-11528 (BLS)
                                           )
                     Debtor.               )
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In re:                                 )     Chapter 11
                                       )
NORTHEAST TENNESSEE EMERGENCY          )     Case No. 23-11542 (BLS)
PHYSICIANS, INC. ,                     )
                                       )
                    Debtor.            )
                                       )
In re:                                 )     Chapter 11
                                       )
PROGRESSIVE MEDICAL ASSOCIATES, PLLC, )      Case No. 23-11555 (BLS)
                                       )
                    Debtor.            )
                                       )
In re:                                 )     Chapter 11
                                       )
SAN JACINTO EMERGENCY PHYSICIANS,      )     Case No. 23-11543 (BLS)
PLLC,                                  )
                                       )
                    Debtor.            )
                                       )
In re:                                 )     Chapter 11
                                       )
ST. ANDREWS BAY EMERGENCY              )     Case No. 23-11549 (BLS)
PHYSICIANS, PLLC,                      )
                                       )
                    Debtor.            )
                                       )
In re:                                 )     Chapter 11
                                       )
STONEY BROOK EMERGENCY PHYSICIANS, )         Case No. 23-11553 (BLS)
PLLC,                                  )
                                       )
                    Debtor.            )
                                       )
In re:                                 )     Chapter 11
                                       )
TEP SELECT EMERGENCY SPECIALISTS PLLC, )     Case No. 23-11560 (BLS)
                                       )
                    Debtor.            )
                                       )
In re:                                 )     Chapter 11
                                       )
TEXOMA EMERGENCY PHYSICIANS LLC,       )     Case No. 23-11565 (BLS)
                                       )
                    Debtor.            )
                                       )
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In re:                                    )   Chapter 11
                                          )
TOWN SQUARE EMERGENCY ASSOCIATES          )   Case No. 23-11551 (BLS)
PLLC,                                     )
                                          )
                    Debtor.               )
                                          )
In re:                                    )   Chapter 11
                                          )
TRUEPARTNERS COMANCHE EMERGENCY           )   Case No. 23-11514 (BLS)
SPECIALISTS PLLC,                         )
                                          )
                    Debtor.               )
                                          )
In re:                                    )   Chapter 11
                                          )
TRUEPARTNERS EMERGENCY PHYSICIANS         )   Case No. 23-11506 (BLS)
LLC,                                      )
                                          )
                    Debtor.               )
                                          )
In re:                                    )   Chapter 11
                                          )
TRUEPARTNERS LAKEWOOD INPATIENT           )   Case No. 23-11516 (BLS)
SPECIALISTS PLLC,                         )
                                          )
                    Debtor.               )
                                          )
In re:                                    )   Chapter 11
                                          )
TRUEPARTNERS MANATEE EMERGENCY            )   Case No. 23-11532 (BLS)
SPECIALISTS PLLC ,                        )
                                          )
                    Debtor.               )
                                          )
In re:                                    )   Chapter 11
                                          )
TRUEPARTNERS NORTHWEST EMERGENCY          )   Case No. 23-11568 (BLS)
ASSOCIATES PLLC,                          )
                                          )
                    Debtor.               )
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In re:                                                          )   Chapter 11
                                                                )
TRUEPARTNERS RANCH EMERGENCY                                    )   Case No. 23-11526 (BLS)
SPECIALISTS PLLC,                                               )
                                                                )
                                   Debtor.                      )
                                                                )
In re:                                                          )   Chapter 11
                                                                )
TRUEPARTNERS WESTLAKE EMERGENCY                                 )   Case No. 23-11517 (BLS)
SPECIALISTS, PLLC,                                              )
                                                                )
                                   Debtor.                      )
                                                                )
In re:                                                          )   Chapter 11
                                                                )
WEST HOUSTON EMERGENCY PHYSICIANS,                              )   Case No. 23-11544 (BLS)
PLLC,                                                           )
                                                                )
                                   Debtor.                      )
                                                                )
In re:                                                          )   Chapter 11
                                                                )
WOODLANDS EMERGENCY PHYSICIANS,                                 )   Case No. 23-11545 (BLS)
PLLC,                                                           )
                                                                )   Ref. Docket No. 3
                                   Debtor.                      )
                                                                )

              ORDER AUTHORIZING JOINT ADMINISTRATION OF
         RELATED CHAPTER 11 CASES FOR PROCEDURAL PURPOSES ONLY

                 Upon consideration of the motion (the “Motion”)1 of the above-captioned debtors

and debtors in possession (collectively, the “Debtors”) seeking entry of an order (this “Order”)

pursuant to Bankruptcy Rule 1015(b) and Local Rule 1015-1 authorizing and directing the joint

administration of the Debtors’ related chapter 11 cases for procedural purposes only, all as more

fully set forth in the Motion; and upon the First Day Declaration; and the United States District

Court for the District of Delaware having jurisdiction over this matter pursuant to 28 U.S.C.



1
    Capitalized terms not defined herein retain the meaning assigned to them in the Motion.
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§ 1334, which was referred to this Court under 28 U.S.C. § 157 pursuant to the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012; and the Court having found that this is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2); and the Court having found that it may enter a final order consistent with Article III

of the United States Constitution; and the Court having found that venue of this proceeding and

the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having

found that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion were

appropriate under the circumstances and no other notice need be provided; and the Court having

found that the relief requested in the Motion is in the best interests of the Debtors’ estates, their

creditors, and other parties in interest; and the Court having determined that the legal and factual

bases set forth in the Motion establish just cause for the relief granted herein; and the Court finding

that: (a) the Debtors are “affiliates” within the meaning of section 101(2) of the Bankruptcy Code;

and (b) the joint administration of the Debtors’ cases for procedural purposes is appropriate

pursuant to Bankruptcy Rule 1015(b) and Local Rule 1015-1; and upon all of the proceedings had

before the Court; and after due deliberation and sufficient cause appearing therefor,

               IT IS HEREBY ORDERED THAT:

               1.      The Motion is hereby GRANTED as set forth herein.

               2.      The above-captioned chapter 11 cases are hereby consolidated for

procedural purposes only and shall be jointly administered by the Court. Nothing contained in this

Order shall be deemed or construed as directing or otherwise effecting a substantive consolidation

of the above-captioned cases, and this Order shall be without prejudice to the Debtors’ rights to

seek entry of an order substantively consolidating their respective cases.
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                   3.      The caption of the jointly administered cases shall read as follows:


                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                      )   Chapter 11
                                                            )
AMERICAN PHYSICIAN PARTNERS,                                )   Case No. 23-11469 (BLS)
LLC, et al.,1                                               )
                                                            )
                                    Debtors.                )   (Jointly Administered)
                                                            )
1
    A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at https://dm.epiq11.com/AmericanPhysicianPartners. The location of
    American Physician Partners, LLC’s principal place of business and the Debtors’ service address in these
    chapter 11 cases is 5121 Maryland Way, Suite 300, Brentwood, TN 37027.


                   4.      The Clerk is directed to make a notation substantially similar to the

following on the docket of each Debtor:

                   An order (the “Joint Administration Order”) has been entered in this
                   case directing the joint administration of the chapter 11 cases listed
                   below for procedural purposes only. The docket in Case No. 23-
                   11469 (BLS) should be consulted for all matters affecting this case.
                   All of the Debtors’ chapter 11 cases are jointly administered
                   pursuant to the Joint Administration Order.

                   5.      The caption set forth above shall be deemed to satisfy any applicable

requirements of section 342(c) of the Bankruptcy Code and Bankruptcy Rules 1005 and 2002(n).

                   6.      All pleadings and other documents to be filed in the jointly-administered

cases shall be filed and docketed in the case of American Physician Partners, LLC, Case No. 23-

11469 (BLS).

                   7.      The Debtors are authorized to take all actions necessary to effectuate the

relief granted in this Order in accordance with the Motion.
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               8.      This Order shall take effect immediately upon entry.

               9.      The Court retains jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.




Dated: September 21st, 2023                BRENDAN L. SHANNON
Wilmington, Delaware                       UNITED STATES BANKRUPTCY JUDGE
